Case 3:16-cv-03495-D Document 32 Filed 11/05/18    Page 1 of 19 PageID 373



                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

GEORGE ANIBOWEI                           §
                                          §
                  Plaintiff               § Civ. Act. No.: 3:16-CV-3495-D
                                          §
v.                                        §
                                          § PLAINTIFF'S OBJECTIONS
                                          §TO THE MAGISTRATE JUDGE'S
JEFFERSON B. SESSIONS, et al.,            §SUPPLEMENTAL FINDINGS,
                                          §CONCLUSIONS, AND
                  Defendants              §RECOMMENDATION
                                          §



         PLAINTIFF'S OBJECTIONS TO THE MAGISTRATE
       JUDGE'S SUPPLEMENTAL FINDINGS, CONCLUSIONS,
                   AND RECOMMENDATION




                                   George Anibowei
                                   Texas Bar No. 24036142
                                   The Law Office of George Anibowei, P.C.
                                   6060 N. Central Expressway, Ste. 560
                                   Dallas, Texas 75206
                                   Telephone No: (214) 800-3463
                                   Facsimile No: (214) 800-3464
                                   Email: ganibowe@yahoo.com
                                   ATTORNEY FOR PLAINTIFF,
                                   GEORGE ANIBOWEI
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                          Page 2 of 19 PageID 374



                                         Table of Contents

I. Introduction ............................................................................................ I



2. Background ............................................................................................ 2



3. Factual Allegations .................................................................................. .4


4. Argument.. ............................................................................................ 6


       I. Legal Standard .................................................................................. 6


      II. Plaintiffs Claim are not barred by Sovereign Immunity .................................. 7


     III. Federal Courts can issue injunctions against the Government
          to protect rights safeguarded by the Constitution.......................................... 9


5. Conclusion ........................................................................................... l3
   Case 3:16-cv-03495-D Document 32 Filed 11/05/18                              Page 3 of 19 PageID 375



                                              Table of Authorities

                                                       Cases


Bellv. Hood
        327 U.S. 678,66 S.Ct. 773,90 L.Ed. 939 (1946)) .................................................... 7,12

Bridgewater v. Double Diamond-Delaware, Inc.
      3:09--CV-1758-B, 2010 WL 1875617 (N.D. Tex. May 10, 2010) ..................................... 7

Farmer v. Brennan
      511 U.S. 825,114 S.Ct. 1970,128 L.Ed.2d 811 (1994) ........................................... 12

Howery v. Allstate Ins. Co.
      243 F.3d 912 (5th Cir. 2001) ......................................................................... 6

Kokkonen v. Guardian Life Ins. Co. ofAm.
       511 u.s. 375 (1994) ..................................................................................... 6

Larson v. Domestic & Foreign Exchange Corp.
       337 U.S.682 (1949) ................................................................................... 7,12

Lester v. Lester
        No. 3:06-CV-1357-BH, 2009 WL 3573530 (N.D. Tex. Oct. 29, 2009) .............................. 7

Marbury v. Madison
      5 U.S. (1 Cranch) 137,2 L.Ed. 60 (1803) ................................................................. 12

Mora v. United States
       955 F.2d 156 (2d Cir. 1992) ........................................................................... 10

Paterson v. Weinberger
       644 F.2d 521 (5th Cir. 1998) ............................................................................. 7

Porterv. Califano
       592F.2d 770 (5th Cir. 1979) .................................................................... 8,13

Rhode Island Dep 't ofEnvtl. Mgmt. v. United States
       304 F .3d 31 (1st Cir. 2002) ............................................................................. 8,13

Salazar v. Buono
        559 U.S. 700, 130 S.Ct. 1803 (2010) ................................................................ .10


Simmat v. US. Bureau ofPrisons
      413. F.3d 1225 (lOth Cir. 2005) ....................................................................... .12

                                                          ii
   Case 3:16-cv-03495-D Document 32 Filed 11/05/18                                        Page 4 of 19 PageID 376



Unimex, Inc. v. US. Dep 't ofHous. & Urban Dev.
       594 F.2d 1060 (5th Cir. 1979) .................................................................................. 8

United States v. Cardona-Sandoval
        518 F .3d 13 (1st Cir. 2008) ............................................................................................... 10

United States v. Chambers
       192 F.3d 374 (3d Cir. 1999) .............................................................................. 10

United States v. Cintron Moreno
        6 Fed. Appx. 23 (1st Cir. 2001) ...................................................................................... .!!

United States v. Comprehensive Drug Testing, Inc.
        621 F.3d 1162 (9th Cir. 2010) .................................................................... .!!

Williamson v. Tucker
       645 F.2d 404 (5th Cir. 1981) ............................................................................ 6



                                                     Statutes and Rules

Fed. R. Civ. P. Rule 12(b)(l) ................................................................................. 6

Fed. R. Crim. P. Rule 4l(g) .............................................................................. l0,11



                                                      Other Authorities


Richard H. Fallon, Jr. et al., Hart and Wechsler's The Federal Courts and
the Federal System 895 (7th ed. 2015) ................................................................. 7,13

Erwin Chemerinski, Federal Jurisdiction § 9 .2.2, at 676 (7th ed. 20 16) ........................... ,,8, 13




                                                                  iii
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                     Page 5 of 19 PageID 377



                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 GEORGE ANIBOWEI                                          §
                                                          §
                         Plaintiff                        § Civ. Act. No.: 3:16-CV-3495-D
                                                          §
v.                                                        §
                                                          § PLAINTIFF'S OBJECTIONS
                                                          §TO THE MAGISTRATE JUDGE'S
                                          1
 JEFFERSON B. SESSIONS, et at.,                           §SUPPLEMENTAL FINDINGS,
                                                          § CONCLUSIONS, AND
                         Defendants                       §RECOMMENDATION
                                                          §



            PLAINTIFF'S OBJECTIONS TO THE MAGISTRATE
          JUDGE'S SUPPLEMENTAL FINDINGS, CONCLUSIONS,
                      AND RECOMMENDATION




                                     1.       INTRODUCTION

        COMES NOW Plaintiff, George Anibowei and hereby files these Objections to the

 Magistrate Judge's Supplemental Findings, Conclusions and Recommendation (doc. 29). In

 the Magistrate's Judge's Supplemental Findings, Conclusions and Recommendation, the

 Magistrate Judge recommends that the Plaintiff's Claim for injunctive reliefs against the

 federal defendant's be dismissed with prejudice on grounds of sovereign immunity. Plaintiff

 respectfully prays that this Honorable Court declines to accept or adopt the Supplemental

 findings, conclusions and recommendation of the Honorable Magistrate Judge.
 1
 Jefferson B. Sessions succeeded Loretta Lynch, Christopher Wray succeeded James Corney, Elaine Duke
succeeded Jeh Johnson, Kevin K. McAleenan succeeded Gil Kerlikowske, David P. Pekoske succeeded Peter
Neffenger, and Thomas D. Homan succeeded Sarah Saldana. Under Rule 25(d) of the Federal Rules of Civil
Procedure, each successor "is automatically substituted as a party."

                                                    1
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                Page 6 of 19 PageID 378



        The question in this case is whether plaintiff has alleged claims against defendants

 under the constitutional exception to sovereign immunity, and, if so, whether he has stated a

 claim for relief against the officers in their official capacities for the alleged constitutional

 violations. Put differently, the question is whether the government can, without any suspicion,

 take an American's electronic devices from him at the border in order to make copies, retain

 the copied information indefinitely, examine and analyze the information, and share that

 information with other parts of the federal government and potentially with foreign

 governments as well.


         Significantly, the government does not contest that this is what happened to Plaintiff

 George Anibowei when he crossed the border on his way home from vacation on October I 0,

 2016. The government asks this Court to dismiss this case, arguing that neither the Fourth

 Amendment's prohibition on unreasonable searches and seizures nor the First Amendment's

 protections for expressive records and association pose a bar to these actions because its

 power to search electronic devices is without limit and effectively beyond judicial review. The

 government sees no difference between going through someone's most private papers and

 examining their shoes and contact lens solution, and asserts it is free to take people's property

 from them at the border and hold onto it for weeks, months, or even years, if that is how long,

 in its view, it would take to conduct a search.


        Plaintiff respectfully prays that this Honorable Court declines to accept or adopt the

 Supplemental findings, conclusions and recommendation of the Honorable Magistrate Judge.


        On the contrary, Plaintiff request that this Court should hold that Plaintiff has stated a


                                                   2
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                          Page 7 of 19 PageID 379



 claim for relief against the officers in their official capacities for the alleged constitutional

 violations. Additionally, Plaintiff further requests that this Court holds that Plaintiff's claims

 are not barred by sovereign immunity.

                                         2.       BACKGROUND

         On December 23, 2016, George Anibowei (Plaintift) filed the instant action against

 the Defendants' for violations of his First and Fourth Amendment rights during a border search

 on October 10, 2016. (doc. 1 at 1-2i He names the U.S. Attorney General, Director of the

 Federal Bureau of Investigation, Director of the Terrorist Screening Center, Director of the

 National Counterterrorism Center, Secretary of the Department of Homeland Security,

 Commissioner of the United States Customs and Border Protection Agency, Administrator of

 the United States Transportation Security Administration, and the Director of the United

 States Immigration and Customs Enforcement Agency (Defendants) in their official

 capacities only. (doc. 8 at 1-3.).

         On April 10, 2017, Defendants' filed a Motion to Dismiss Plaintiff's First Amended

 Complaint on grounds that Plaintiff lacked standing, and alternatively, for failure to state a

 claim upon which relief could be granted. (doc. 13). On May 1, 2017, Plaintiff filed an

 Opposition to the Motion to Dismiss. (doc. 17).

         By Memorandum Opinion and Order of dated March 27, 2018 (doc. 26), this

 Honorable Court adopted in part the December 15, 2017 findings, conclusions, and

 recommendation ofthe magistrate judge, and this matter was re-referred to the magistrate judge

 to address the merits of outstanding claims for injunctive relief against the officers in their

 2
  Citations to the record refer to the CM!ECF system page number at the top of each page rather than the page
 numbers at the bottom of each filing.

                                                        3
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                Page 8 of 19 PageID 380



 official capacities. The Honorable Magistrate Judge has concluded and recommended that the

 Plaintiff's Claim for injunctive reliefs against the federal defendant's be dismissed with

 prejudice on grounds of sovereign immunity.

        Plaintiff respectfully requests that this Honorable Court declines to accept or adopt the

 Supplemental fmdings, conclusions and recommendation of the Honorable Magistrate Judge.

                               3.     FACTUAL ALLEGATIONS

        The complaint makes the following allegations:

        Plaintiff is a licensed Texas attorney who frequently flies internationally. (doc. 17 at

 8.) He was an approved member of the Global Entry Trusted Traveler Program administered

 by the United States Customs and Border Protection Agency (CBP). (doc. 8 at 5, 21.) After

 approximately two and a half years of active membership, his membership was revoked for

 not meeting the "program eligibility requirements." (/d. at 6, 22.) Plaintiff asserts that "even

 before and subsequent to the revocation" of his membership, he was referred for secondary

 inspection, detained, and questioned by CBP officers on many occasions. (/d. at 7-8.)

        On one occasion, he and his teenage son were prevented from boarding and detained for

 approximately two hours before being allowed to board their flight, which was delayed while

 they were detained. (/d.)

        On another occasion, he was detained and questioned for almost five hours by the

 Canada Border Services at the insistence ofCBP, which caused him to miss his flight. (/d.)

        On October 10,2016, Plaintiff arrived at the Toronto International airport to board his

 flight to the United States. (Id. at 12.) Plaintiff contends that, upon his arrival at the

 Dallas/Fort Worth International Airport (DFW), CBP agents escorted him to an interrogation

 room. (Id. at 2; doc. 17 at 9.) There, they "seized and detained" his cell phone without consent
                                                4
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                 Page 9 of 19 PageID 381



 or a search warrant for "examination and copying," but they did not tell him why. (doc. 8 at 2,

 14.) CBP agents detained and questioned Plaintiff for approximately two hours, during which

 time they copied the contents of his cell phone for examination. (Id. at 14.) CBP agents then

 returned Plaintiff's cell phone and released him without indicating "what information had

 been copied from his cell phone, what agencies or individuals would have access to any copies

 made, and whether any such copies would ultimately be destroyed or stored." (!d.)

         Plaintiff asserts on information and belief that agents of Defendants, acting pursuant to

 established CBP and ICE policies, reviewed and copied the contents of his electronic devices,

 that this information has been retained by Defendants, and that it has been disclosed to and

 retained by other government agencies. (!d. at 43.)

         After filing this lawsuit, on February 27, 2017, Plaintiff returned to the United States

 from Nigeria and landed at DFW, where he was again referred for secondary inspection. (!d. at

 15.) During this subsequent inspection, he was detained and questioned by CBP agents while

 his cell phone, luggage, and carry-on bag were searched. (!d.) Plaintiff asserts that a CBP

 agent went through his text messages and emails on his cell phone without his consent or a

 search warrant. (!d. at 15-16.) CBP agents detained him for approximately three hours during

 this inspection. (!d. at 16.)

         Plaintiff seeks a declaratory judgment that the detention of his cell phone for copying

 and examination and the retention and dissemination of its contents without reasonable

 suspicion violates the First and Fourth Amendments. (!d. at 19.) He also seeks "injunctive

 relief' in the form of an order requiring Defendants to ( 1) return all information retrieved from

 his cell phone or, if the information cannot be returned, to expunge or destroy that information;

 and (2) disclose whether the information obtained from his cell phone was disclosed to other
                                                 5
Case 3:16-cv-03495-D Document 32 Filed 11/05/18               Page 10 of 19 PageID 382



 agencies and, if so, what information was disclosed and in what form. (!d. at 2-3, 19-20.)

 Finally, he seeks attorneys' fees and costs. (!d. at 20.)

         As an initial matter, this Honorable Court must accept as true the complaint's factual

 allegations in considering the Defendants' motion to dismiss.

                           4.      ARGUMENT AND AUTHORITIES

         Defendants move to dismiss Plaintiffs claims for injunctive relief under Rule 12(b)( 1)

 for lack of subject-matter jurisdiction. (doc. 13 at 10.)

  I.      Legal Standard

         A motion to dismiss under Rule 12(b)(1) of the Federal Rules of Civil Procedure

 challenges a federal court's subject matter jurisdiction. See Fed. R. Civ. P. 12(b)(l). Federal

 courts are courts of limited jurisdiction; without jurisdiction conferred by the Constitution and

 statute, they lack the power to adjudicate claims. Kokkonen v. Guardian Life Ins. Co. ofAm.,

 511 U.S. 375, 377 (1994) (citations omitted). They "must presume that a suit lies outside this

 limited jurisdiction, and the burden of establishing federal jurisdiction rests on the party

 seeking the federal forum." Howery v. Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001).

 When a court dismisses for lack of subject matter jurisdiction, that dismissal "is not a

 determination of the merits and does not prevent the plaintiff from pursuing a claim in a court

 that does have proper jurisdiction." !d.

         The district court may dismiss for lack of subject matter jurisdiction based on (1) the

 complaint alone; (2) the complaint supplemented by undisputed facts in the record; or (3) the

 complaint supplemented by undisputed facts plus the court's resolution of disputed facts.

 Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir. 1981). A motion to dismiss based on the

 complaint alone presents a "facial attack" that requires the court to merely decide whether the
                                                   6
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                   Page 11 of 19 PageID 383



 allegations in the complaint, which are presumed to be true, sufficiently state a basis for

 subject matter jurisdiction. See Paterson v. Weinberger, 644 F .2d 521, 523 (5th Cir. 1998). "If

 sufficient, those allegations alone provide jurisdiction." !d.

         Here, because the Rule 12(b)(l) motion to dismiss relies on Plaintiff's amended

 complaint, it presents a facial attack that does not require resolution of matters outside the

 pleadings. See Bridgewater v. Double Diamond-Delaware, Inc., 3:09-CV-1758-B, 2010 WL

  1875617, at *5 (N.D. Tex. May 10, 2010); Lester v. Lester, No. 3:06-CV-1357-BH, 2009 WL

  3573530, at *4 (N.D. Tex. Oct. 29, 2009).

   II.    Plaintiff's Claims are not barred by Sovereign Immunity

         Plaintiff respectfully requests that this Honorable Court declines to adopt or accept the

  Supplemental Recommendation's that Plaintiffs Claim for Injunctive relief against

 Defendants' in their official capacity should be dismissed with prejudice on grounds of

 sovereign immunity because aside from actions under Bivens or the APA, direct officer suits

 seeking injunctive relief are not barred by sovereign immunity.

         It is well established that an individual can bring a suit directly against a federal

 officer in two circumstances: ( 1) when the officer acts outside of his or her delegated statutory

 power; and (2) if the officer's conduct, while statutorily authorized, offends a provision of

 the Constitution. Larson v. Domestic & Foreign Exchange Corp., 337 U.S. 682, 689-91(1949);

 see also Bell v. Hood, 327 U.S. 678, 684 (1946) ("[I]t is established practice for this Court to

 sustain the jurisdiction of federal courts to issue injunctions to protect rights safeguarded by

 the Constitution[.]"}. The latter is a "constitutional exception to the doctrine of sovereign

 immunity." Larson, 337 U.S. at 696; Richard H. Fallon, Jr. et a!., Hart and Wechsler's The

 Federal Courts and the Federal System 895 (7th ed. 2015) ("Hart and Wechsler") ("[I]f the
                                                  7
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                  Page 12 of 19 PageID 384



 officer acted within the conferred statutory limits of the office, but his or her conduct

 allegedly offended a provision of the Constitution, then sovereign immunity will be lifted.")

 (internal quotation marks and citation omitted). Through this line of cases, individuals have "a

 right to sue directly under the [C]onstitution to enjoin ... federal officials from violating [their]

 constitutional rights." Porterv. Califano, 592 F.2d 770, 781 (5th Cir. 1979); see also Unimex,

 Inc. v. U.S. Dep't ofHous. & Urban Dev., 594 F.2d 1060, 1061-62 (5th Cir. 1979) (per curiam)

 (examining whether official capacity suit against federal officers may survive under

 constitutional exception to sovereign immunity); Rhode Island Dep 't ofEnvtl. Mgmt. v. United

 States, 304 F.3d 31,41 (1st Cir. 2002) ("[O]ur courts have long recognized that federal officers

 may be sued in their official capacity for prospective injunctive relief to prevent ongoing or

 future infringements offederal rights."); Erwin Chemerinski, Federal Jurisdiction§ 9.2.2, at 676

 (7th ed. 20 16) ("[U]nconstitutional government actions can be halted by seeking an

 injunction against the individual officer responsible for executing the government's policy.");

 Hart and Wechsler, supra at 892 ("The principle that the Constitution creates a cause of action

 against governmental officials for injunctive relief . . . has also come to apply in suits

 challenging federal official action.").

        In the present case, plaintiff seeks injunctive and declaratory relief, asserting

 jurisdiction-not only under Bivens and the AP A-but also under the Constitution. Am.

 Compl. ~1.

        More specifically, plaintiff alleges that the agents who copied and retained the

 contents of his cell phone were acting pursuant to official Customs and Border Protection

 and Immigration and Customs Enforcement policy. /d. at~~40,43. Plaintiffalsoaversthatthe

 actions authorized bythepolicyareunconstitutional. Id at~~47,48. Clearly, the plaintiff did
                                                  8
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                Page 13 of 19 PageID 385



 allege and pleaded facts showing that the individuals from whom he is seeking injunctive

 relief were acting unconstitutionally or pursuant to an unconstitutional grant of power.

         In light of the foregoing, Plaintiff respectfully request that this honorable come to the

 irresistible conclusion that plaintiff has clearly alleged claims against defendants under the

 constitutional exception to sovereign immunity, and, has also stated a claim for relief against

 the officers in their official capacities.

  III. Federal courts can issue injunctions against the Government to protect rights
        safeguarded by the Constitution

         Plaintiff respectfully requests that this Honorable Court declines to accept or adopt the

 Magistrate Judge's conclusion that even if Plaintiff is ultimately successful on his

 Constitutional claims, he is nonetheless not entitled to injunctive relief against the Defendants

 because Federal courts can issue injunctions against the Government to protect rights

 safeguarded by the Constitution.

         Plaintiff seeks, among other forms of relief, an injunction requiring the Defendants to

 reveal to whom they disclosed or disseminated information contained on his electronic

 devices, (Amend. Compl., Prayer for Relief, C), and an injunction requiring them to return all

 information obtained from Plaintiff's electronic devices and if the information cannot be

 returned, to expunge or otherwise destroy it. (Amend. Compl., Prayer for Relief, B). Plaintiff

 respectfully prays that this Honorable court declines to accept or adopt the Magistrate Judges

 recommendation in this regard because such recommendation is premature at this stage in the

 proceedings.

         "An injunction is an exercise of a court's equitable authority, to be ordered only after

 taking into account all of the circumstances that bear on the need for prospective relief."


                                                 9
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                 Page 14 of 19 PageID 386




  Salazar v. Buono, 559 U.S. 700, 130 S.Ct. 1803, 1816 C:WlO). Because the Court does not

  have before it all of the discovered facts as it would at a later stage at summary judgment or

  trial, the Honorable Court is unable to adequately assess all of the circumstances that would

  bear on the issuance for an injunction in the particular form requested by Plaintiff at this time.

  Accordingly, this Honorable Court should decline to accept or adopt this particular

  recommendation as it is clearly premature at this stage of the proceeding.

         Furthermore, the Plaintiff requested reliefs include an injunction requiring Defendants

  to reveal to whom they disclosed or disseminated information contained in his electronic

  devices. The finding and recommendation that Defendants cannot be compelled to reveal what

  they did with the information they seized must not be accepted or adopted because Courts

  have required this of the government on a routine basis.

         For example, Federal Rule of Criminal Procedure 4l(g) grants criminal defendants the

  right to have property returned to them after it is no longer needed as evidence. In deciding

  Rule 4l(g) motions, the First Circuit has refused to accept the government's "bare assertion"

  that it destroyed the property or gave it to a third party, and instead has required the

  government to provide evidence of what it did with the property. United States v. Cardona-

  Sandoval, 518 F.3d 13, 16-17 (1st Cir. 2008) (per curiam). See also United States v. Cintron

  Moreno, 6 Fed. Appx. 23 (1st Cir. 2001) (per curiam); United States v. Chambers, 192 F.3d

  374,377 (3d Cir. 1999); Mora v. United States, 955 F.2d 156, 159 (2d Cir. 1992). By analogy,

 it is within this Court's power to require the government to reveal to Plaintiff with whom it

 has shared his information. This is particularly the case because Plaintiff claims the

 government is violating the Constitution by retaining this information, a claim he will not be



                                                 10
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                 Page 15 of 19 PageID 387




  able to fully vindicate unless he can identify all governmental entities that now possess his

  information.

         Additionally, the Magistrate Judge clearly erred in finding that this Court lacks the

  power to order destruction of information the government seized from the Plaintiffs

  electronic device, as there is ample precedent for this practice. Again by analogy, under

  Federal Rule of Criminal Procedure 41 (g), courts can order the government to return seized

  property to criminal defendants and have discretion to decide whether it is reasonable for the

  government to retain copies3 . Besides, Plaintiff's privacy interest in the seized data also

  weighs heavily in favor of requiring the government to return the data and destroy all copies.

  In United States v. Comprehensive Drug Testing, Inc., 621 F.3d 1162, 1174 (9th Cir. 2010),

  the Ninth Circuit upheld an order requiring the government to return illegally seized data on

  Major League Baseball's drug testing program without retaining copies. The Court noted,

  "The risk to the players associated with disclosure, and with that the ability of the Players

  Association to obtain voluntary compliance with drug testing from its members in the future,

  is very high." Id. at 1174. The privacy interests cited by the Ninth Circuit parallel Plaintiff's

  interests in preserving the privacy of the information in his electronic device. Accordingly,

  Plaintiff respectfully requests that this Honorable Court declines to accept or adopt the

  Supplemental recommendation that even if Plaintiff is ultimately successful on his

  Constitutional claims, he is nonetheless not entitled to injunctive relief against the Defendants.




  3
   The Advisory Committee notes to the 1989 amendments to Rule 41 make clear that in some
  cases, "equitable considerations might justify an order requiring the government to return or
  destroy all copies of records that it has seized."

                                                 11
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                   Page 16 of 19 PageID 388




         Lastly, the Magistrates Judge's conclusion that Larson, 337 U.S. 682 essentially

  blocks Plaintiffs claim for injunctive relief because it would require "affirmative action" by

  the sovereign is clearly erroneous. Accordingly, this Honorable court must decline to accept

  or adopt the recommendation because accepting the recommendation would effectively leave

  Plaintiff without a remedy for the violation of his constitutional rights. Most importantly, the

  Magistrate's recommendation the Plaintiffs claim for injunctive relief be dismissed with

  prejudice clearly violates the basic principle that "where federally protected rights have been

  invaded, it has been the rule from the beginning that courts will be alert to adjust their

  remedies so as to grant the necessary relief." Bell, 327 U.S. 678, 684 (citing Marbury v.

  Madison, 5 U.S. (1 Cranch) 137, 2 L.Ed. 60 (1803)); see also Farmer v. Brennan, 511 U.S.

  825, 846, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994) (stating that the courts could "grant

  appropriate relief' on a federal prisoner's Eighth Amendment claim for damages and

  injunctive relief against prison officials in their individual and official capacities).

          Moreover, there is no question that the judicial branch's power to enjoin

  unconstitutional acts by the government is inherent in the Constitution itself. Thus, in Bell, the

  Supreme Court held that the 'jurisdiction of federal courts to issue injunctions to protect

  rights safeguarded by the Constitution" is found in 28 U.S.C. § 1331 (district courts have

 jurisdiction over all cases "arising under" federal law). Similarly, in Simmat v. U.S. Bureau of

  Prisons, 413. F.3d 1225, 1232 (lOth Cir. 2005), the Tenth Circuit stated that where the

  government violates constitutional rights, "equity thus provides the basis for relief--the cause

 of action, so to speak-in appropriate cases within the court's jurisdiction." According to Hart

 and Wechsler supra at 892, ("[I]f the officer acted within the conferred statutory limits of the

 office, but his or her conduct allegedly offended a provision of the Constitution, then
                                                   12
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                 Page 17 of 19 PageID 389




  sovereign irrummity will be lifted.") (internal quotation marks and citation omitted). Clearly,

  individuals have "a right to sue directly under the [C]onstitution to enjoin ... federal officials

  from violating [their] constitutional rights." Porter, 592 F.2d 770, 781; see also Unimex, 594

  F.2d 1060, 1061-62 (per curiam) (examining whether official capacity suit against federal

  officers may survive under constitutional exception to sovereign immunity); Rhode Island Dep 't

  ofEnvtl. Mgmt., 304 F.3d 31, 41 ("[O]ur courts have long recognized that federal officers may

  be sued in their official capacity for prospective injunctive reliefto prevent ongoing or future

  infringements of federal rights."); Erwin Chemerinski, Federal Jurisdiction§ 9.2.2, at 676 (7th

  ed. 2016) ("[U]nconstitutional government actions can be halted by seeking an injunction

  against the individual officer responsible for executing the government's policy."); Hart and

  Wechsler, supra at 892 ("The principle that the Constitution creates a cause of action against

  governmental officials for injunctive relief ... has also come to apply in suits challenging

  federal official action.").

          In the present case, plaintiff seeks injunctive and declaratory relief, asserting

  jurisdiction-not only under Bivens and the AP A-but also under the Constitution.

  Therefore, this Honorable must decline to accept or adopt the Magistrate Judge's

  Supplemental findings, conclusions and Recommendation. More specifically, this Honorable

  must decline to accept or adopt the Magistrate Judge's conclusion that even if Plaintiff is

  ultimately successful on his Constitutional claims, he is nonetheless not entitled to injunctive

  relief against the Defendants.

                                      5.      CONCLUSION

          For the foregoing reasons, Plaintiff respectfully prays that this Honorable Court

  declines to accept or adopt the Supplemental findings, conclusions and recommendation of the
                                                 13
Case 3:16-cv-03495-D Document 32 Filed 11/05/18        Page 18 of 19 PageID 390




Honorable Magistrate Judge.



                                        Respectfully submitted by:



                                        By: IS/George Anibowei
                                        George Anibowei
                                        Texas BarNo. 24036142
                                        The Law Office of George Anibowei, P.C.
                                        6060 N. Central Expressway, Ste. 560
                                        Dallas, Texas 75206
                                        Telephone No: (214) 800-3463
                                        Facsimile No: (214) 800-3464
                                        Email: ganibowe@yahoo.com
                                        ATTORNEY FOR PLAINTIFF,
                                        GEORGE ANIBOWEI


  Dated this 6th day ofNovember, 2018




                                            14
Case 3:16-cv-03495-D Document 32 Filed 11/05/18                  Page 19 of 19 PageID 391




                               CERTIFICATE OF SERVICE (CMJECF)

         The undersigned hereby certifies that on November 6, 2018, I electronically filed the

  foregoing document with the clerk of the court for the U.S. District Court, Northern District of

  Texas, using the electronic case filing system of the court. I also certify that a copy of this

  document was served on all parties via the Court's electronic filing system.


                                                 Respectfully submitted,



                                                 By: IS/George Anibowei
                                                 George Anibowei
                                                 Texas BarNo. 24036142
                                                 The Law Office of George Anibowei, P.C.
                                                 6060 N. Central Expressway, Ste. 560
                                                 Dallas, Texas 75206
                                                 Telephone No: (214) 800-3463
                                                 Facsimile No: (214) 800-3464
                                                 Email: ganibowe@yahoo.com
                                                 ATTORNEY FOR PLAINTIFF,
                                                 GEORGE ANIBOWEI




                                                  15
